Case 2:18-cv-03893-RGK-AGR Document 12 Filed 05/11/18 Page 1 of 8 Page ID #:35
   1
   2
   3
   4
   5
   6
   7
   8
                             UNITED STATES DISTRICT COURT
   9
                           CENTRAL DISTRICT OF CALIFORNIA
   10
   11 EDWARDO MUNOZ                                CASE NO:
                                                   2:18−cv−03893−RGK−AGR
   12                   Plaintiff(s),

   13          v.                                  STANDING ORDER REGARDING
                                                   NEWLY ASSIGNED CASES
        7−ELEVEN, INC.
   14
                       Defendant(s).
   15
   16
   17
   18
   19               READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE.
   20          This action has been assigned to the calendar of Judge R. Gary Klausner. The
   21    responsibility for the progress of litigation in the Federal Courts falls not only upon
   22    the attorneys in the action, but upon the Court as well. “To secure the just, speedy,
   23    and inexpensive determination of every action,” Federal Rule of Civil Procedure 1,

   24    all counsel are hereby ordered to familiarize themselves with the Federal Rules of

   25    Civil Procedure, particularly Federal Rules of Civil Procedure 16, 26, the Local

   26    Rules of the Central District of California, this Court’s Order for Jury Trial, and this

   27    ///

   28    ///


                                                 −1−
Case 2:18-cv-03893-RGK-AGR Document 12 Filed 05/11/18 Page 2 of 8 Page ID #:36
   1
        Court’s Order for Court Trial.1
   2         UNLESS OTHERWISE ORDERED BY THE COURT, THE
   3    FOLLOWING RULES SHALL APPLY:
   4         1.    Service of the Complaint.         The Plaintiff(s) shall promptly serve the

   5    Complaint in accordance with Fed. R. Civ. P. 4 and file the proofs of service
   6    pursuant to Local Rule. Any Defendant(s) not timely served shall be dismissed
   7    from the action without prejudice. Any “DOE” or fictitiously-named Defendant(s)
   8    who is not identified and served within 90 days after the case is filed shall be
   9    dismissed pursuant to Federal Rule of Civil Procedure 4(m).
   10        2.    Removed Actions.         Any answers filed in state court must be refiled
   11   in this Court as a supplement to the petition. Any pending motions must be
   12   re-noticed in accordance with Local Rules. If an action is removed to this Court

   13   that contains a form pleading, i.e., a pleading in which boxes are checked, the party
   14   or parties utilizing the form pleading must file an appropriate pleading with this
   15   Court within thirty (30) days of receipt of the Notice of Removal. The appropriate
   16   pleading referred to must comply with the requirements of Federal Rules of Civil
   17   Procedure, Rules 7, 7.1, 8, 9, 10 and 11.

   18        3.    Petitions under 18 U.S.C. Section 983(f).            Petitioner(s) shall file and

   19   serve within 3 days of the date of this order an ex parte application requesting a

   20   hearing on the Petition to ensure prompt resolution of the Petition in compliance
   21   with section 983(f)’s deadlines.
   22        4.    Presence of Lead Counsel.           The attorney attending any proceeding
   23
   24          1Copies of the Local Rules are available on our website at “http:\\www.cacd.uscourts.gov”
        or they may be purchased from one of the following:
   25
        Los Angeles Daily Journal           West Group                         Metropolitan News
   26   915 East 1st Street                 610 Opperman Drive                 210 South Spring Street
        Los Angeles, CA 90012               P.O. Box 64526                     Los Angeles, CA 90012
   27                                       St. Paul, MN 55164-0526

   28

                                                     −2−
Case 2:18-cv-03893-RGK-AGR Document 12 Filed 05/11/18 Page 3 of 8 Page ID #:37
   1
        before this Court, including all status and settlement conferences, must be the lead
   2    trial counsel.
   3         5. Discovery.       All discovery matters have been referred to a United States
   4    Magistrate Judge to hear all discovery disputes. (The Magistrate Judge’s initials

   5    follow the Judge’s initials next to the case number.) All documents must include
   6    the words “DISCOVERY MATTER” in the caption to ensure proper routing.
   7    Counsel are directed to contact the Magistrate Judge’s Courtroom Deputy Clerk
   8    to schedule matters for hearing. Please do not deliver courtesy copies of these
   9    papers to this Court.
   10        The decision of the Magistrate Judge shall be final, subject to modification
   11   by the District court only where it has been shown that the Magistrate Judge’s
   12   order is clearly erroneous or contrary to law. Any party may file and serve a motion

   13   for review and reconsideration before this Court. The moving party must file and
   14   serve the motion within ten (10) days of service of a written ruling or within ten
   15   (10) days of an oral ruling that the Magistrate Judge states will not be followed by
   16   a written ruling. The motion must specify which portions of the text are clearly
   17   erroneous or contrary to law, and the claim must be supported by points and

   18   authorities. Counsel shall deliver a conformed copy of the moving papers and

   19   responses to the Magistrate Judge’s clerk at the time of filing.

   20        6. Motions.        Motions shall be filed and set for hearing in accordance with
   21   Local Rule 6-1, except that this Court hears motions on Mondays commencing at
   22   9:00 a.m. If Monday is a national holiday, this Court will hear motions on the
   23   succeeding Tuesday. If the date the motion was noticed for hearing is not available,
   24   the Court will issue a minute order resetting the date. Any opposition or reply

   25   papers due on a holiday are due the preceding Friday, not the following Tuesday.

   26   Memoranda of Points and Authorities in support of or in opposition to
   27   motions shall not exceed 20 pages. Replies shall not exceed 10 pages. Only
   28   in rare instances and for good cause shown will the Court agree to extend these

                                                 −3−
Case 2:18-cv-03893-RGK-AGR Document 12 Filed 05/11/18 Page 4 of 8 Page ID #:38
   1
        page limitations.
   2    Pursuant to Local Rule 11-3.1.1, either a proportionally spaced or monospaced
   3    font may be used. A proportionally spaced font must be 14-point or larger, or as
   4    the Court may otherwise order. A monospaced font may not contain more than

   5    10½ characters per inch.
   6          Motions, Oppositions, and Replies shall be electronically filed only.
   7    Parties shall not file courtesy copies. With the exception of physical exhibits,
   8    all documents supporting the motion, opposition, or reply (e.g., declarations,
   9    exhibits, statements of undisputed or disputed facts, judicial notices) shall also
   10   be electronically filed only, and filed as attachments to the corresponding
   11   brief. Furthermore, each supporting document shall be filed as an individual
   12   attachment, such that each document can be accessed by its own individual

   13   link. Each attachment shall be designated by the title of the document.
   14   Example (Docket Entry for Defendant’s Notice of Motion and Motion for
   15   Summary Judgment):
   16         Document Selection Menu

   17         Select the document you wish to view.

   18         Document Number: 100         23 pages            150 kb

   19
   20         Attachment     Description

   21         1               Separate Statement of Undisputed Facts    10 pages   50 kb

   22         2               Declaration of Bob Smith                  4 pages    30 kb

   23         3               Exhibit A - Purchase Agreement            5 pages    1.2 kb

   24         4               Exhibit B - Jones Deposition              10 pages   0.9 kb

   25         5               Exhibit C - Thomas Declaration            3 pages    23 kb

   26         6               Proposed Order                            2 pages    20 kb

   27   ///
   28   ///

                                                      −4−
Case 2:18-cv-03893-RGK-AGR Document 12 Filed 05/11/18 Page 5 of 8 Page ID #:39
   1
        Within the parties’ briefs, any reference to information or evidence contained
   2    in the supporting documents shall contain the documents’ specific docket
   3    entry numbers in the citation. Example: Plaintiff and Defendant executed the
   4    Purchase Agreement on January 2, 2010. (Purchase Agreement, Smith Decl., Ex. A

   5    at p.5, Docket Entry 100-3.)
   6         Motions for Summary Judgment: Without prior permission from the Court,
   7    no party may file more than one motion pursuant to Fed.R.Civ. P. 56 regardless
   8    of whether such motion is denominated as a motion for summary judgment or
   9    summary adjudication.
   10        Motions to Dismiss pursuant to Fed. R. Civ. P. 12(b)(6): Where a defendant
   11   has filed a Rule 12(b)(6) motion, and in lieu of filing an opposition, the plaintiff
   12   intends to file an amended complaint, the plaintiff shall file either the Amended

   13   Complaint or a Notice of Intent to File Amended Complaint prior to the date on
   14   which the opposition is due. Failure to do so may result in sanctions.
   15        7. Proposed Orders.        Each party filing or opposing a motion or seeking
   16   the determination of any matter (e.g., ex parte applications, stipulations, and general
   17   requests) shall electronically file and lodge a proposed order setting forth the relief

   18   or action sought and a brief statement of the rationale for the decision with

   19   appropriate citations.

   20        8. Preparation of Documents/PDF.           Counsel shall adhere to Local Rule
   21   5-4.3.1 with respect to the conversion of all documents to a PDF so that when
   22   a document is electronically filed, it is in the proper size and format that is PDF
   23   searchable.
   24        9. Telephonic Hearings.        The Court does not permit appearances or

   25   arguments by way of telephone conference calls.

   26        10.   Ex Parte Applications.      The Court considers ex parte applications
   27   on the papers and does not usually set these matters for hearing. If a hearing is
   28   necessary, the parties will be notified. Ex parte applications are solely for

                                                −5−
Case 2:18-cv-03893-RGK-AGR Document 12 Filed 05/11/18 Page 6 of 8 Page ID #:40
   1
        extraordinary relief and should be used with discretion. Sanctions may be imposed
   2    for misuse of ex parte applications. See Mission Power Engineering Co. v.
   3    Continental Casualty Co., 883 F.Supp. 488 (C.D. Cal. 1995).
   4         Counsel’s attention is directed to the Local Rules. The moving party shall

   5    serve the opposing party and shall notify the opposition that opposing papers must
   6    be filed not later than 3:00 p.m. on the first business day following service. If
   7    counsel does not intend to oppose an ex parte application, he or she must inform
   8    the Courtroom Deputy Clerk at (213) 894-2649.
   9         11.   Continuances.        This Court has a strong interest in keeping scheduled
   10   dates certain. Changes in dates are disfavored. Trial dates set by the Court are firm
   11   and will rarely be changed. Therefore, a stipulation to continue the date of any
   12   matter before this Court must be supported by a sufficient basis that demonstrates

   13   good cause why the change in the date is essential. Without such compelling
   14   factual support, stipulations continuing dates set by this Court will not be approved.
   15   Counsel requesting a continuance must file a stipulation and lodge a proposed
   16   order including a detailed declaration of the grounds for the requested continuance
   17   or extension of time. See Local Rules. Failure to comply with the Local Rules and

   18   this Order will result in rejection of the request without further notice to the parties.

   19   Proposed stipulations extending scheduling dates do not become effective unless

   20   and until this Court so orders. Counsel wishing to know whether a stipulation has
   21   been signed shall comply with the applicable Local Rule.
   22        12.   Communications with Chambers.            Counsel shall not attempt to
   23   contact the Court or its staff by telephone or by any other ex parte means. Counsel
   24   may contact the Courtroom Deputy Clerk with appropriate inquiries only. Counsel

   25   shall not contact the Courtroom Deputy regarding status of ex parte application/

   26   ruling or stipulation/ruling.
   27        13.   Order Setting Scheduling Conference.          Pursuant to Federal Rule
   28   of Civil Procedure 16(b), the Court will issue an Order setting a Scheduling

                                                 −6−
Case 2:18-cv-03893-RGK-AGR Document 12 Filed 05/11/18 Page 7 of 8 Page ID #:41
   1
        Conference as required by Federal Rule of Civil Procedure 26 and the Local Rules
   2    of this Court. Strict compliance with Federal Rules of Civil Procedure 16 and 26
   3    is required.
   4         14.   Notice of this Order.     Counsel for plaintiff or plaintiff (if appearing on

   5    his or her own behalf) shall immediately serve this Order on all parties, including
   6    any new parties to the action. If this case came to the Court by a Petition for
   7    Removal, the removing defendant(s) shall serve this Order on all other parties.
   8         15.   Courtesy Copies.      Courtesy copies are not required with documents
   9    traditionally filed over the intake counter. Courtesy copies shall be submitted
   10   for the following electronically filed documents: (1) Stipulations; (2) Ex Parte
   11   Applications; and (3) the following Final Pre-Trial Documents: Motions in Limine,
   12   Memoranda of Contention of Fact and Law, Witness Lists, Joint Succinct Statement

   13   of the Case, Voir Dire Questions (if the parties choose to submit any), and Jury
   14   Instructions. These courtesy copies shall be delivered to the judge’s courtesy
   15   copy drop box located outside of the Clerk’s Office, Room 181L, no later than
   16   the following business day after the electronic filing. Courtesy copies shall not
   17   be submitted for any other electronically filed documents.

   18        16.   Applications to File Documents Under Seal.          For detailed instructions

   19   and information on the procedures for filing documents under seal, please refer

   20   to Local Rule 79−5 Confidential Court Records - Under Seal. With regard to
   21   Under-seal Documents in Non-sealed Civil Cases (L.R. 79-5.2.2), the filing party
   22   shall not provide a chambers or courtesy copy of the Application or any associated
   23   documents. Please bear in mind that all applications must (1) indicate which
   24   portions of the documents to be filed under seal are confidential; and (2) provide

   25   reason(s) as to why the parties’ interest to file the document(s) under seal outweighs

   26   the public’s right to access. If a party submits an application to file under seal
   27   pursuant to a protective order only (i.e., no other reason is given), the Court
   28   will automatically deny the application if the party designating the material as

                                                −7−
Case 2:18-cv-03893-RGK-AGR Document 12 Filed 05/11/18 Page 8 of 8 Page ID #:42
   1
         confidential does not file a declaration pursuant to L.R. 79-5.2.2(b)(i). This
   2     declaration shall be entitled: “DESIGNATING PARTY’S DECLARATION IN
   3     SUPPORT OF APPLICATION TO FILE UNDER SEAL PURSUANT TO
   4     PROTECTIVE ORDER”.

   5        IT IS SO ORDERED.
   6
   7    DATED: May 11, 2018
   8                                       R. Gary Klausner
                                           United States District Judge
   9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                                −8−
